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                         UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                               GREENVILLE DIVISION

 IN RE:

 ANGELA FARROW,                                                CASE NO. 18-04539-5-JNC
                                                               CHAPTER 13
         DEBTOR.

                             MOTION TO CONTINUE HEARING

         NOW COMES, creditor Christopher H. Brown (“Mr. Brown”), by and through undersigned

 counsel, and hereby moves the Court for an Order continuing the hearing on the Debtor’s Objection

 to Proof Claim of Christopher H. Brown [D.E. 19] and Mr. Brown’s response thereto [D.E. 34]

 (“Objection to Claim”) and, in support of said Motion, shows unto the Court as follows:

         1.     On September 10, 2018, the Debtor filed a voluntary petition for chapter 13 relief.

         2.     On November 29, 2018, the Debtor filed an objection to the claim of Mr. Brown, and

 Mr. Brown filed a Response thereto on January 2, 2019.

         3.     A hearing on the Objection to Claim and response thereto has been scheduled for

 January 30, 2019 at 10:30 a.m. in Greenville, North Carolina.

         4.     Mr. Brown requests a continuance of the hearing to give the parties additional time to

 resolve the objection and to allow time for the hearing on the Trustee’s Motion to Dismiss scheduled

 to be heard on February 6, 2019 to be resolved, as the resolution may render Objection to Claim

 moot.

         5.     This Motion is made for good cause and not for purpose of delay.

         6.     Counsel for the Debtor and the Chapter 13 Trustee consent to the relief requested.

         WHEREFORE, Mr. Brown requests that the hearing on the Objection to Claim scheduled for

 January 30, 2019, at 10:30 a.m. in Greenville, NC, be continued for a period of 30 days, and for such

 other and further relief as the Court may deem just and proper.
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 DATED: 01/28/19
                                             s/Blake Y. Boyette
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                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that he is, and at all times hereinafter mentioned was, more
 than eighteen years of age and on this day, true and accurate copies of the foregoing MOTION TO
 CONTINUE HEARING was filed electronically via CM/ECF, notification of which was remitted
 to the following parties as indicated:

  C. Scott Kirk        (CM/ECF & US Mail)          Angela Farrow              (US Mail)
  1025C Director Ct.                               40534 North End Rd.
  Greenville, NC 27858                             Avon, NC 27915
  Attorney for the Debtor

  Christopher H. Brown              (US Mail)      Joseph Bledsoe             (CM/ECF)
  122 Greentree Circle                             Chp 13 Trustee
  Jupiter, FL 33458

        EXECUTED ON: 1/28/19
                                                       s/Blake Y. Boyette
                                                       BLAKE Y. BOYETTE
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